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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

CITY OF GRAND RAPIDS,
                                                    Case No. 1:17-cv-113
                Plaintiff,
v.                                                  HONORABLE PAUL L. MALONEY

GRAND RAPIDS POLICE COMMAND
OFFICERS ASSOCIATION, et al.,

            Defendants.
____________________________________/

                                   CASE MANAGEMENT ORDER

        IT IS HEREBY ORDERED:

 Trial on the inadvertent/intent and             Date and Time:                   APRIL 15, 2019
      the law enforcement issues only                                                  8:45 a.m.

                                                                             174 Federal Building
 Before:    Judge Paul L. Maloney                                          410 W. Michigan Ave.
                                                                            Kalamazoo, Michigan
 Jury or Non Jury                                                                        Non-Jury
 Estimated Length of Trial                                                                  5 days
 Motions to Join Parties or Amend Pleadings                                              CLOSED
 Rule 26(a)(1) Disclosures                                                               CLOSED
 Disclose Name, Address, Area of Expertise and        Plaintiff:           NOVEMBER 19, 2018
 a short summary of expected testimony               Defendant:            NOVEMBER 19, 2018
 of Expert Witnesses (Rule 26(a)(2)(A)
 Completion of Discovery                                                     JANUARY 18, 2019
 Interrogatories will be limited to:                                       25 single part questions
 (Single Part Questions)
 Depositions will be limited to:                                                      10 per party
 (Fact Witnesses Per Party)
 Settlement Conference                                                           None at this time
 Final Pretrial Conference                                Date:                 MARCH 25, 2019
 Before Judge Paul L. Maloney                             Time:                      9:30 a.m.
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 ADR To Take Place On Or Before:                                                    FEBRUARY 28, 2019

1.    TRIAL DATE AND SETTING: This case is scheduled for trial before the Honorable Paul L.
      Maloney, 174 Federal Building, 410 W. Michigan Ave., Kalamazoo, Michigan, as set forth above.


2.    JOINDER OF PARTIES AND AMENDMENTS OF PLEADINGS: All motions for joinder of parties
      and all motions to amend the pleadings must be filed by the date set forth in the table above.
3.    DISCLOSURES AND EXCHANGES: Deadlines for exchange of Rule 26(a)(1) disclosures, names
      of lay witnesses, identification of experts, voluntary exchange of documents, and disclosure of expert
      reports under Rule 26(a)(2), if applicable, are ordered as set forth in the table above.

4.    DISCOVERY: All discovery proceedings shall be completed no later than the date set forth in the
      table above, and shall not continue beyond this date. All interrogatories, requests for admissions, and
      other written discovery requests must be served no later than thirty days before the close of
      discovery. All depositions must be completed before the close of discovery. Interrogatories will be
      limited as set forth in the table above. Depositions will be limited as set forth in the table above.
      There shall be no deviations from this order without prior approval of the court upon good cause
      shown. Time limitations for depositions set forth in Rule 30(d)(1) apply to this case.

5.    MOTIONS:

      a.      Non-dispositive motions shall be filed in accordance with W.D. Mich. LcivR. 7.3. They will
              be referred to a Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(A). In accordance with
              28 U.S.C. § 471, et seq., it is the policy of this Court to prohibit the consideration of
              discovery motions unless accompanied by a certification that the moving party has made a
              reasonable and good faith effort to reach agreement with opposing counsel on the matters
              set forth in the motion.

      b.      Dispositive motions shall be filed in accordance with W.D. Mich. LcivR 7.2 by the date set
              forth in the table above. If dispositive motions are based on supporting documents such as
              depositions or answers to interrogatories, only those excerpts which are relevant to the
              motion shall be filed. The case manager will notify counsel of the date for oral argument.
              Pursuant to Administrative Order 07-026, one courtesy copy of all dispositive motion
              papers (including responses and replies) and all accompanying exhibits must be
              submitted directly to the judge’s chambers on paper. The copy must be hand-delivered
              or sent via first class mail the same day the document is e-filed.

      c.      The parties are strongly encouraged to file motions in limine at least fourteen (14) calendar
              days prior to the final pretrial conference, but in no event shall they be filed later than the
              date for the submission of the proposed Final Pretrial Order.

6.    ALTERNATIVE DISPUTE RESOLUTION: In the interest of facilitating prompt resolution of this
      case, and the parties having voluntarily selected facilitative mediation, this matter shall be submitted
      to facilitative mediation. The parties have fourteen (14) days from the date of this Order to jointly




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       choose one mediator from the list of court certified mediators.1 Plaintiff is responsible for e-filing
       notification of the name of the selected mediator. If the parties are unable to jointly select a mediator,
       they must notify the ADR Administrator2, who will select a mediator for them. Once the mediator
       is selected, a Notice will issue regarding the method and schedule for the mediation conference.

7.     SETTLEMENT CONFERENCE: The parties are under an ongoing obligation to engage in good faith
       settlement negotiations. No settlement conference has been scheduled at this time.

8.     FINAL PRETRIAL CONFERENCE: A final pretrial conference is scheduled at the date and time
       set forth above.

9.     PREPARATION OF PROPOSED FINAL PRETRIAL ORDER: A proposed pretrial order, entitled
       “Final Pretrial Order” shall be prepared jointly by counsel and filed seven (7) business days prior
       to the final pretrial conference in the following form:

               A final pretrial conference was held on the ___ day of ______________. Appearing for the
               parties as counsel were:

                        (List the counsel who will attend the pretrial conference.)

               1.       Exhibits: The following exhibits will be offered by the plaintiff and the defendant:

                        (List separately for each party all exhibits, including demonstrative evidence and
                        summaries of other evidence, by name and number. Plaintiff shall use numbers;
                        defendant shall use letters. Indicate with respect to each exhibit whether and for
                        what reason its admissibility is challenged. Exhibits expected to be used solely for
                        impeachment purposes need not be numbered or listed until identified at trial.
                        Failure to list an exhibit required to be listed by this order will result, except upon
                        a showing of good cause, in a determination of non-admissibility at trial. Objections
                        not contained in the Pretrial Order, other than objections under Evidence Rule 402
                        or 403, shall be deemed waived except for good cause shown. See Fed. R. Civ. P.
                        26(a)(3)(B).)

               2.       Uncontroverted Facts: The parties have agreed that the following may be accepted
                        as established facts:

                        (State in detail all uncontroverted facts.)

               3.       Controverted Facts and Unresolved Issues: The factual issues remaining to be
                        determined and issues of law for the Court’s determination are:




       1
           Www.miwd.uscourts.gov
       2
        ADR Administrator, U.S. District Court, 399 Federal Building, 110 Michigan St., NW,
Grand Rapids, MI 49503; 616/456-2381; adr@miwd.uscourts.gov

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                 (Set out each issue which is genuinely controverted, including issues on the merits
                 and other matters which should be drawn to the Court’s attention.)

            4.   Witnesses:

                 A.      Non-expert witnesses to be called by the plaintiff and defendant, except
                         those who may be called for impeachment purposes only, are:

                         (List names, addresses, and telephone numbers of all non-experts who will
                         testify. Indicate whether they are expected to testify in person, by
                         deposition videotape, or by reading of their deposition transcript. Indicate
                         all objections to the anticipated testimony of each non-expert witness. For
                         each witness listed, indicate whether the witness will be called or merely
                         may be called to testify.)

                 B.      Expert witnesses to be called by the plaintiff and defendant, except those
                         who may be called for impeachment purposes only, are:

                         (List names, addresses, and telephone numbers of all experts who will
                         testify, providing a brief summary of their qualifications and a statement of
                         the scientific or medical field(s) in which they are offered as experts.
                         Indicate whether they will testify in person, by deposition videotape, or by
                         reading of their deposition transcript. Indicate all objections to the
                         qualifications or anticipated testimony of each expert witness.)

                         It is understood that, except upon a showing of good cause, no witness
                         whose name and address does not appear in the lists required by subsections
                         (a) and (b) will be permitted to testify for any purpose, except impeachment,
                         if the opposing party objects. Any objection to the use of a deposition
                         under Fed. R. Civ. P. 32(a) not reflected in the Pretrial Order shall be
                         deemed waived, except for good cause shown.

            5.   Depositions and Other Discovery Documents:

                 All depositions, answers to written interrogatories, and requests for admissions, or
                 portions thereof, that are expected to be offered in evidence by the plaintiff and the
                 defendant are:

                 (Designate portions of depositions by page and line number. Designate answers to
                 interrogatories and requests for admissions by answer or request number.
                 Designation need not be made of portions that may be used, if at all, as impeachment
                 of an adverse party. Indicate any objections to proposed deposition testimony,
                 answers to interrogatories, and admissions.)

            6.   Length of Trial: Counsel estimate the trial will last approximately _____ full days,
                 allocated as follows: _____ days for plaintiff’s case; _____ days for defendant’s
                 case; _____ days for other parties.



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                 7.      Prospects of Settlement: The status of settlement negotiations is:

                         (Indicate progress toward settlement and issues that are obstacles to settlement.)

         The proposed Final Pretrial Order will be signed by all counsel, signifying acceptance, and upon
approval by the Court, with such additions as are necessary, will be signed by the Court as an order reflecting
the final pretrial conference.

10.     MATTERS TO BE CONSIDERED AT THE FINAL PRETRIAL CONFERENCE: At the final
        pretrial conference, the parties and the Court will formulate a plan for trial, including a program for
        facilitating the admission of evidence, consider the prospects of settlement, and consider such other
        matters as may aid in the trial or other disposition of the action. Unless excused upon a showing of
        good cause, the attorney who is to conduct the trial shall attend the pretrial conference and shall be
        accompanied by a representative of the party with full settlement authority.

11.     PREPARATION FOR TRIAL: Trial briefs and Proposed Findings of Fact and Conclusions of Law
        shall be submitted to the Judge three (3) business days prior to the trial date.




Dated: July 25, 2018                                /s/ Paul L. Maloney
                                                   Paul L. Maloney
                                                   United States District Judge




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